                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

UNITED STATES OF AMERICA                        )       DOCKET NO.: 3:11CR190-MOC-DSC
                                                )
                 v.                             )       ORDER TO SEAL
                                                )       BILL OF INFORMATION
                                                )
BONNIE BRIDGES, ET AL.,                         )
                                                )
                 Defendants.                    )

          UPON MOTION of the United States of America, by and through Anne M. Tompkins,

United States Attorney for the Western District of North Carolina, for an order directing that the

Motion to Seal and this Order and Bill of Information be sealed, to protect the secrecy of the on-

going nature of the investigation in this matter until further order of this Court,

          IT IS HEREBY ORDERED that the Motion to Seal and this Order and Bill of

Information be sealed until further order of this Court.

          The Clerk is directed to certify copies of this Order to the United States Attorney's

Office.

          SO ORDERED.                               Signed: June 27, 2011




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